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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ___ ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA PLE DD UNDER SOSETRATE JUDGE MASOIN

in

  

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v. : is ~ 2010 c iN
cor 0378
VICTOR BROWN atone W. Seuss CASE NUMBER:
CLERK, U.S. DISTRICT CouRT JO |

L, Special Agent Craig Henderson, the undersigned complainant being duly swom state the following is true and
correct to the best of my knowledge and belief.

On or about February 18, 2010, at Chicago, in the Northern District of Illinois, Eastern Division, defendant

 

herein:

did knowingly and willfully make materially false, fictitious, and fraudulent statements and representations
in a matter within the jurisdiction of the Federa! Bureau of Investigation and the United States Department
of Justice, agencies within the executive branch of the Government of the United States, in that BROWN
stated 1) he did not accept money from a police officer in return for influencing people at or associated with
the Chicago Police Board: 2) he did not ever suggest to anyone that he could have a separation or disciplinary
case fixed at the Chicago Police Board; 3) he did not ever tell anyone that he had a contact or contacts at the
Chicago Police Board; and 4) he never told anyone that for $15,000, or $12,500, $10,000 or $7,500, his
people could take care of things at the Chicago Police Board;

in violation of Title 18 United States Code, Section 1001.

{ further state that I am a Special Agent of the Federal Bureau of Investigation and that this complaint is based on

 

the following facts:
See attached affidavit

Continued on the attached sheet and made a part hereof: _X Yes __ No.

CUA

 

 

Signature of Complainant
Sworn to before me and subscribed in my presence,
May 7, 2010 at Chicago, Illinois
Date City and State

Michael T. Mason, U.S, MAGISTRATE JUDGE : Vr kal A, OA QA ___

Name & Title of Judicial Officer Signature of Judicfal Officer

 

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 2 of 17 PagelD #:2

AFFIDAVIT

I, CRAIG HENDERSON, being duly sworn, deposes and states as follows:

1. I have been employed as a Special Agent with the Federal Bureau of
Investigation (“FBI”) for nearly sixteen years, having been assigned to the Chicago
Division for twelve and a half years, and the FBI Laboratory Division for three and
a half years. While assigned to the Chicago Division, I have been part of an
Organized Crime Squad and a White Collar Crime/ Public Corruption squad, and
have investigated violations of federal statutes, including wire fraud, mail fraud,
money laundering and extortion.

2. Tam familiar with the facts and information contained in this
affidavit, which is based on my own personal observations, witness interviews,
review of consensually recorded conversations, analysis and review of documents
and records, and from discussions with other FBI Special Agents and investigators
from the Chicago Police Department (“CPD”) Internal Affairs Division (“IAD”).

3. This affidavit is made in support of a criminal complaint charging
VICTOR BROWN (“BROWN”), with a violation of 18 U.S.C. Section 1001(a)(2),
charging that, on February 18, 2010, BROWN did knowingly and willfully make
materially false, fictitious, and fraudulent statements and representations in a
matter within the jurisdiction of the Federal Bureau of Investigation ("FBI") and
the United States Department of Justice, agencies within the executive branch of
the Government of the United States.

4, Since this affidavit is being submitted for the limited purpose of

i

 

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 3 of 17 PagelD #:3

establishing probable cause in support of a criminal complaint, I have not included
each and every fact known to me concerning this investigation. I have set forth only
the facts that I believe are necessary to establish probable cause to believe BROWN
committed a violation of 18 U.S.C. Section 1001(a)(2).

L BACKGROUND

5. The FBI is investigating allegations that VICTOR L. BROWN solicited
bribes from CPD officers in exchange for arranging to fix disciplinary cases for those
officers before the Chicago Police Board (the “Police Board”). During this
investigation, the FBI developed a confidential source (“CS”) who was subject to
discipline by CPD and had been assigned to the CPD Alternate Response Unit at
the time that he/she met BROWN. The CS permitted agents to consensually record
calls on his/her telephone and also wore a recording device to record conversations
with BROWN in person.

6. CPD officers who are subject to disciplinary proceedings may appeal a
recommendation of serious discipline to the Police Board. The Police Board is
comprised of nine individuals who are not members of the CPD. During the course
of the investigation, agents developed information indicating that BROWN took
bribes in return for his promise of a favorable result for officers’ disciplinary cases
before the Police Board.

HW. BROWN SOLICITS AND ACCEPTS BRIBES FROM THE CS

A. Information Provided by the Confidential Source

7. The CS was indicted in the course of an investigation involving mail

2

 

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 4 of 17 PagelD #:4

fraud occurring in the Chicago, Illinois area. The CS agreed to assist In an ongoing
criminal investigation in exchange for a reduced charge in his/her case, to which
he/she has plead guilty pursuant to a plea agreement.

8. - As part of his/her cooperation, the CS consented to the interception
and recording of all calls made to and from the CS's cellular telephone.’ At times
material to this affidavit, the CS was assigned to the Alternate Response Section of
the CPD. According to the CS, on September 15, 2008, while BROWN and the Cs
were working at the Alternate Response Section, BROWN approached the CS and
said he was aware of the CS's situation. According to the CS, the following
conversation occurred on that day. BROWN offered to arrange a favorable outcome |
for the CS's case at the Police Board in exchange for a cash payment. BROWN
proposed that the CS would pay BROWN $10,000 in order to fix the CS's case.

This conversation was not recorded. According to the CS, he/she did not know
BROWN prior to being assigned to the Alternate Response Section.
B. ‘BROWN Takes Bribes from the CS

9. On September 17, 2008, the CS met BROWN at. a restaurant for the

 

! While other law enforcement agents and I have listened to consensually recorded
conversations of telephone calls and meetings and have attempted to transcribe them
accurately, to the extent quotations from these conversations are included, these are
preliminary, and not final, transcriptions. Based on my training and experience, the
context and content of the conversations, and in the context of this investigation, I have
included bracketed explanations where appropriate to explain my understanding of these
conversations, including coded language and terms used. Finally the summaries below do
not include all potentially criminal conversations that have occurred during this
investigation or all statements or topics covered during the course of the recorded
conversations described below.

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 5 of 17 PagelD #:5

purposes of paying him a bribe payment of $500 in exchange for BROWN's efforts to
fix the CS's Police Board disciplinary proceeding. This meeting was consensually
recorded by the CS. Prior to the meeting, the CS was provided with $500 in
prerecorded funds. The CS was fitted with an audio-recording device and the CS
and his/her vehicle were searched for the presence of any excess currency, with
negative results. At approximately 2:10 p.m., surveillance observed BROWN
entering the meet location, 1000 W. Washington, by himself. BROWN and the CS
then met together out of view of surveillance. According to audio surveillance, at
approximately 3:12 p.m., the CS handed BROWN the bribe payment which was
placed inside of a newspaper. The CS can be heard on the recording telling
BROWN, “Check page four, I found a cool article on page four.” After the meeting
the CS was surveilled until he/she met with agents and the CS and his/her vehicle
were searched for the presence of excess currency with negative results.

10. The CS was debriefed after the meeting and related he/she paid
BROWN the $500 bribe payment towards the end of the conversation between
BROWN and CS. CS further stated that CS placed the $500 in page 4 of the
newspaper before he/she gave it to BROWN. CS also stated he/she told BROWN to
turn to page 4 of the paper because that is where he/she placed the $500.

11. On September 25, 2008, during a consensually recorded meeting, the
CS met with BROWN and paid BROWN $1,000 with funds provided by the FBI.
Prior to the meeting, the CS was provided with $1,000 in pre-recorded funds. The

CS was fitted with an audio and video recording device and the CS and his/her

4

 

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 6 of 17 PagelD #:6

vehicle were searched for the presence of any excess currency, with negative results.
The payment was audio and video recorded. Investigators conducted surveillance of
the meeting and observed BROWN 's vehicle in front of the location where the
meeting with the CS was to take place. BROWN and the CS were observed leaving
the meet location and walking around the block in the area of the meeting. During
the meeting, at approximately 12:00 p.m., video shows the CS handing BROWN the
bribe payment of $1000. On the audio recording, BROWN expressed disgust with |
the small payment and stated “it looks ike you're up to something,” and demanded
an additional $3,500 by October 2, 2008. After the meeting, the CS and the CS's
vehicle were searched for the presence of excess currency with negative results.

Cc. BROWN Demands Additional Bribe Payments from the CS

12. On October 2, 2008, at approximately 9:36 a.m., during a consensually
recorded conversation,’ BROWN told the CS “I'm going to tell em [Police Board
member(s)], you showed up and you [CS] said you ain't got nothing today [the CS
did not provide a payment today], and then they gonna do whatever they do.”
BROWN stated, “I keep telling you, you don't run how they do stuff, they do it.”

BROWN told CS, “You made promises you don't keep.” BROWN then told CS,

 

? | have listened to the voices on the recorded conversations set forth in this
affidavit. Ican identify the voice of the CS because I met with him/her numerous times during this
investigation. I can identify the voice of BROWN because I conducted the interview of
BROWN for over an hour on February 18, 2010. I also observed BROWN on surveillance
on several occasions when the CS met with BROWN to make bribe payments to BROWN
and recorded conversations during those meetings with BROWN. Based on these
observations of BROWN and his voice, I believe that all of the statements set forth in this
affidavit which are ascribed to BROWN were in fact made by VICTOR BROWN.

5

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 7 of 17 PagelD #:7

“When you dealin' with big people, I'm tellin' you if you don't keep your word, you
can forget it [CS is creating a problem by not paying promptly].”

13. On October 3, 2008, at approximately 9:13 a.m., during a consensually
recorded conversation, BROWN told CS, “You got to have fifteen hundred to them
today [a $1500 bribe payment] and they said, ain't no waitin' a year. The
Department can move on you whenever [meaning the CS's Police Board case could
move forward at any time].” The CS and BROWN spoke about an officer who
appealed to the Police Board and BROWN emphasized the serious consequences by
telling the CS that, “When someone goes up against the Police Board, you don't get
a check [referring to the fact that the officer before the Board would be in a non-pay
status until the matter is resolved by the Board]. When you go up against the
[Police] Board, they are trying to separate [fire] you from the Police Department.”

14. On October 3, 2008, at approximately 9:36 a.m., during a consensually
recorded conversation BROWN told the CS, “They got your stuff [money from CS's
bribe payment], I don't do no talkin' on the phone.” After the CS said that he/she
would like a receipt for the money he/she paid, BROWN responded, “Who in the
fuck gonna give you a motherfuckin’ receipt for some shit they doin’, they ain't
supposed to [no one would provide a receipt for illegal payments they accepted]?”

15. On October 13, 2008, at approximately 6:30 a.m.,during a consensually
recorded conversation BROWN asked the CS what he/she was going to do and the
CS replied that he/she could get some money at the end of the week. BROWN
stated that he wanted to meet earlier in the morning, saying, “We need to start

6

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 8 of 17 PagelD #:8

being earlier than that, man, and I'm gonna tell you something. I gotta call you
when I call you, we can't do tco much talkin' cause some stuff got passed around
that I won't even speak of on the phone [meaning BROWN does not want to talk on
the phone because people are talking about a possible investigation].” BROWN told
CS, “People been talkin’, and there's been too much talkin’. There's been some
talkin', rumors goin’ around, there's too much talkin'.”

16. On October 23, 2008 at approximately 9:lla.m., during a consensually
recorded conversation, the CS told BROWN that the CS would “have twenty-five
hundred for you on Monday.” BROWN replied, “After that, you should be straight
until you finish your court stuff [meaning that the amount paid would satisfy the
Board until the CS's pending federal court case was resolved].” The CS asked
BROWN to, “Get a hold of whoever your guy is over there at [A [CPD Internal
Affairs] and find out what's going on with my case [meaning find out the status of
the CS's case in CPD's disciplinary proceeding process].” BROWN replied,
“Alright.”

17. On October 23, 2008, at approximately 9:23 a.m., during a
consensually recorded conversation, BROWN asked the CS if the CS was “gonna
have the two-five [$2,500] on Monday?” The CS replied, “Yeah, twenty-five
hundred.” BROWN then told the CS that “would put you at five [$5,000 in total
paid to BROWN for the bribe].” BROWN also stated that, as long as, “your court

stuff don't mess up [as long as the CS is able to plead to a misdemeanor charge in

his/her criminal case, rather than a felony] and then you straight.”

7

 

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 9 of 17 PagelD #:9

18. On October 26, 2008, at approximately 6:36 p.m.,during a consensually
recorded conversation, BROWN asked, “You said you gonna have two-five [$2500]
right? Cause that's what I told them.” The CS answered, “Yeah, twenty-five
hundred.” BROWN then told the CS, “After that, he said you'd be straight.”
BROWN then told the CS that BROWN talked to somebody and “they holding off on
your stuff ‘til your, ub your court stuff over [they are waiting to resolve CS's Police
Board case until after they ensure that CS pleads to a misdemeanor in the criminal
case].”

19. On October 27, 2008, at approximately 11:18 a.m., surveillance
observed a meeting between BROWN and the CS in the area of Central Avenue and
Milwaukee Avenue, Chicago, Illincis. The purpose of the meeting was for the CS to
pay a $2,500 bribe to BROWN. Prior to the meeting, the CS was provided with
$2,500 in prerecorded funds. The CS was fitted with an audio and video recording
device and the CS and his/her vehicle were searched for the presence of any excess
currency, with negative results. Surveillance observed the CS reach into his/her
shirt pocket, remove the twenty-five hundred dollars and place it into a newspaper.
Surveillance then observed BROWN take the newspaper, shake the CS's hand, and
enter his vehicle. BROWN's vehicle left the area at. a high rate of speed. After the
meeting, the CS and the CS$'s vehicle were searched for the presence of excess
currency with negative results. The CS was debriefed and stated that toward the
ending of the meeting with BROWN, CS removed the bribe payment, $2,500, from
_ his/her left front shirt pocket and placed it into a newspaper. According to the CS,

8

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 10 of 17 PagelD #:10

he/she then handed the newspaper to BROWN.

20. On October 27, 2008, at approximately 12:25 p.m., during a
consensually recorded conversation, BROWN and the CS discussed the status of the
CS’s CPD IAD investigation. BROWN told the CS, “To answer your question, they.
said within ninety days.” The CS asked, “What's in ninety days?” BROWN told the
CS, “When you finish your court stuff, within ninety days.” BROWN told the CS
that the CS's CPD IAD investigation had not been assigned to “somebody yet
because they overloaded. They haven't gave it to nobody yet, is what they told me.” .

21. On October 27, 2008, at approximately 12:30 p.m., during a
consensually recorded conversation, BROWN told the CS, “Hey I was told it [CS's
investigation file] wasn't assigned to nobody, but they can check on that or
whatever.” BROWN also advised the CS that his/her CPD IAD statement should be
“short and sweet” because the CS would have already entered a guilty plea on.
misdemeanor charges in court. BROWN then told the CS “everything going to be
fine” to “just relax, everything be cool.”

22. On October 29, 2008, at approximately 8:15 a.m.,during a consensually
recorded conversation, BROWN told the CS, “They [BROWN's contacts at the Police
Board] said, ‘[CS is] sure?’ [Meaning they were asking whether the CS was serious
about going through with fixing his/her case before the Police Board.] I [BROWN]
said, ‘The man emphatic. [CS] said [CS] knows [CS's] getting a misdemeanor in
court [referring to the resolution of the CS's criminal case]. [CS] ain't worried about
the court, all [CS's] worried about is the Department and if something happens to

9

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 11 of 17 PagelD #:11

[CS], [CS's] gonna get [CS], keep [CS's] job.’ I told them [BROWN's contacts]
everything you said, that's what they said.” BROWN then told the CS, “You don't
have anything to worry about. If you decide you want to tip [pay additional
amounts toward the bribe] them or something when all your shit over, that's up to
you.” BROWN then advised the CS that BROWN talked to them so the CS would
not have to pay an “extra grand.” The CS then asked BROWN what would happen -
after the administrative portion of the IAD investigation was over. BROWN replied
to the CS, “What they want you to know, mainly, is that, you straight [meaning _
CS's case will have a favorable outcome for CS].” BROWN further stated to the CS,
“You gonna, you'll keep your job.” Later on in the conversation BROWN explained
the Police Board to the CS, stating, “I don't know if you know how the Board works
and stuff, you have to have a majority decision if you go to the Board.” BROWN
further told the CS, “They allocate the things to where you have a majority ruling.
Majority means you got nine members on there. All nine, all nine don't show up
every month.” BROWN told the CS that members of the Police Board talk to each
other about the cases, saying, “They know how they're gonna do certain things with
certain people.” The CS asked BROWN how the “tipping” worked and how many
people should he/she “tip?” BROWN explained that the “tipping” part was all up to
the CS and was optional.

23, On November 4, 2008, at 9:52 a.m., during a consensually recorded
conversation, the CS told BROWN that he/she did not have any money last week

and asked BROWN what he/she owed. BROWN told the CS, “Well you know you

10

 

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 12 of 17 PagelD #:12

gotta have the twenty-five [$2,500] now cause they said fifteen by Friday.” The CS
then asked BROWN when he/she needed to pay the “twenty-five” and BROWN
responded “ASAP.” BROWN then asked the CS when he/she would have the
money. The CS told BROWN he/she needed to get the money together. BROWN
replied to the CS that the CS did nat have to pay it all at once if it is “easier to get
part than all.” The CS then told BROWN he/she will see how much he/she can raise
in a week.

24. On November 4, 2008, at approximately 11:01 a.m., during a
consensually recorded conversation, BROWN told the CS that BROWN, “Just
talked to one of them. They said try and do the best you can and try and see if you
can get something [an additional cash payment] in at the end of this week.” The CS
replied, “Okay” to which BROWN responded, “I'm just passing that on to you what
they told me.”

25. On March 17, 2009, at approximately 2:05 a.m., BROWN and the CS
had a conversation at the CPD Alternate Response Section. The conversation was
consensually recorded by the CS. BROWN said to the CS, “You said you was gonna
pay [make a bribe payment], I can't make you. We doin too much talkin. I don't
know whose what. Somebody mentioned some shit about the Board and IAD, it was
a confidential source [BROWN was concerned that people are talking about there
being a confidential source providing information about the Police Board]. I need to
know what you gonna do about the money?” The CS replied, “I'm gonna get you

some money this week.” BROWN said, “This is my Friday. You come here, you can

11

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 13 of 17 PagelD #:13

give me a newspaper, we can go in the bathroom, you can say here's a comic book
[meaning the CS can hide a bribe payment in a newspaper or magazine as they had
done in the past]. You can do what ever. Just tell me what you want to do and do
what you gotta do.” Later in the conversation BROWN said, “They have moles
here, they know a lot of shit. If you see me just go like we did that one time. Here's
today's newspaper. Like we did that time in the restaurant [referring to the
September 17, 2008 bribe payment set forth in paragraph 9 abovej. If you have to
say something write it down. Unless we are buck naked somewhere in a pool where
you can see my nuts and I can see your nuts, You never know who is here.”
[BROWN is expressing concern about there being people listening in on his
conversations with the CS and is telling the CS to be very careful in talking about
and making bribe payments]. After a pause, Brown said, “So, you said Thursday.”
The CS replied, “Thursday [March 19].” BROWN asked, “What do you think you
are going to try to do? CS says, “I'm gonna get you at least five[$500].” BROWN
replied, “Alright, cool.”
26. On March 19, 2009 at approximately 10:34 p.m., surveillance observed
a meeting between BROWN and the CS in the area of the Chicago Police
Department's non-emergency call center at 2111 West Lexington, in Chicago,
Illinois. The purpose of the meeting was for the CS to pay a $500 bribe to BROWN.
Prior to the meeting, the CS was provided with $500 in prerecorded funds. The CS
was fitted with an audio recording device. Surveillance observed BROWN driving a
dark colored Chrysler Sebring when he arrived at the parking lot located at 2111

12

 
Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 14 of 17 PagelD #:14

West Lexington. Surveillance observed BROWN exit his vehicle and approach the
CS who was standing in the open passenger front door of the CS's vehicle, which
was parked in the parking lot. According to surveillance and the CS, BROWN
leaned in the driver's side window and the CS leaned in the open door and they had
a conversation through the car. According to the CS, BROWN reached into the CS's
vehicle as the CS handed BROWN the $500 bribe payment. The recording from the
device worn by the CS contained the following conversation. BROWN asked, “You
jast got to work?” CS said “Yeah.” BROWN said, “Put it in, it's cool. What is it?”
CS responded, “Five [$500], alright.” BROWN said, “Alright.” CS asked, “Now,
how much more we got [how much more does CS have to pay to complete the
bribe]?” BROWN replied, “We'll talk.”

27. On March 20, 2009, at approximately 5:40 p.m., during a consensually
recorded conversation, BROWN said, “Alright, listen.” The CS responded, “Yeah.”
BROWN continued, “They done messed up. You know how much you, you done paid
already?” CS replied, “Um...was it, it would be...” BROWN asked, “Fifty five
hundred [$5,500]?” CS responded, “Yeah. Fifty five hundred, ok.” BROWN stated,
“Fifty five hundred. But um, I'm just letting you know, fifty five hundred. You need
two thousand [in addition to the $5,500 CS has already paid to BROWN]. I don't
know what you got tonight, you need to try and get the most money you can to
them. They [BROWN's contacts on the Chicago Police Board] was pissed off. I said,
‘look, [the CS] been going through shit. I been going through my stuff. I wasn't at

work [referring to BROWN 's extended absence from work due to medical issues], so,

13

 

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 15 of 17 PagelD #:15

there's a couple times [ the CS] tried to give me, you know, [the CS’s] shit together,
whatever, and I wasn't there.' You need to, I don't know what you got, I don't know
what you can get [as additional bribe payment money]. Need to get your shit
together and then I'm gonna call this lawyer [to represent CS before the Police
Board], or whatever, and put him on you, or whatever, and they can take your stuff
from there, with your legal shit, but they [BROWN's contacts on the Chicago Police
Board] want they stuff [additional bribe payment money]. And they, you know, like
I said, you, you went through it how you went through it, however you had to go
cause your other lawyer, and pay and whatever, that shit's behind you [referring to
the CS's criminal case being resolved].' CS responded, “Alright.” BROWN said, “I
don't know what you got on you. You need to scoop up whatever, I could try and
take them [BROWN's contacts on the Chicago Police Board] the rest of the more
money tomorrow, cause I took it to them, like, man thought this dude was uh, I'm
like, ‘[the CS] ain't did. [The CS, the CS], I been going through my stuff, [the CS]
tried to meet me [BROWN] a couple times and I didn't, it was on me. I didn't meet
[the CS] [meaning that BROWN is covering for the CS with BROWN’s contacts on
the Police Board and providing excuses as to why payments haven't been made].”

CS said, “Thank you! Thank you! I'm glad you, I'm glad you told him that.”

Ill. BROWN MAKES MATERIAL FALSE STATEMENTS TO FBI AGENTS
DURING A FEBRUARY 18, 2010 INTERVIEW

28. On February 18, 2010, FBI agents went to BROWN’s residence,

knocked on the door and asked to speak with BROWN. BROWN answered the door,

14

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 16 of 17 PagelD #:16

agreed to speak with agents, and invited them into his residence.

29. During the interview FBI agents asked BROWN: “Did you ever ask for
money from a Chicago police officer in return for influencing people at the Chicago
Police Board?” BROWN answered no and stated that he had no influence with the
Chicago Police Board.

30, During the interview FBI agents asked BROWN: “Have you ever
accepted money from a police officer in return for influencing people at/associated
with the Chicago Police Board?” BROWN answered no and stated that he has no
clout with the Chicago Police Board.

31. During the interview FBI agents asked BROWN: “Have you ever
suggested to anyone that you could have a separation or disciplinary case fixed at
the Chicago Police Board?” BROWN was asked this question twice and both times
he answered no, stating that he has no clout.

32. During the interview FBI agents asked BROWN: “Have you told
anyone that you have a contact or contacts at the Chicago Police Board?” BROWN
answered no and again stated that he has no clout with the Police Board.

33. During the interview FBI agents asked BROWN: “Have you ever told
anyone that for $15,000 your people could take care of things at the Chicago Police
Board?” This question was repeated substituting $12,500, $10,000 or $7,500 in
place of $15,000. Each time the question was asked regardless of the amount of
money referenced in the question, BROWN answered no. BROWN said he did not
have clout on the Chicago Police Board. BROWN stated that he never offered a

15

 
 

Case: 1:10-cr-00378 Document #: 1 Filed: 05/07/10 Page 17 of 17 PagelD #:17

monetary figure to anyone. BROWN stated that he told people what the lawyers
charged, but never told anyone he could take care of things at the Chicago Police
Board for a certain monetary figure.
CONCLUSION

34. | Based on the foregoing, I believe there is probable cause to believe that
VICTOR BROWN, violated 18 U.S.C: Section 1001, in that on February 18, 2010
BROWN did knowingly and willfully make materially false, fictitious, and fraudulent
statements and representations in a matter within the jurisdiction of the Federal
Bureau of Investigation ("FBI") and the United States Department of Justice, agencies -

within the executive branch of the Government of the United States.

Cw

RAIG HENDERSON
CRAIG Agent
Federal Bureau of Investigation

SUBSCRIBED and SWORN before me
this 7th day of May, 2010.

 

 

HONORABLE MICHAEL T. MASON
United States Magistrate Judge

16

 
